                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


                                              *
UNITED STATES OF AMERICA
     Plaintiff,
v                                             *          CRIMINAL NO. : 16-226

RICHARD SNELLGROVE, M.D.
     Defendant.                               *

      MOTION TO EXCLUDE TESTIMONY OF MICHAEL BARON, M.D.

       COMES NOW the Defendant, Richard Snellgrove, M.D., by and through his
attorneys, Dennis J. Knizley and Arthur T. Powell, III and respectfully moves this
Honorable Court to exclude the testimony of Dr. Michael Baron and as grounds therefore
states as follows:
       1. The defendant would respectfully show this Honorable Court that the
testimony of the government’s purported expert, Dr. Baron, should be excluded from
evidence at the trial of this case because his testimony does not comply with the
requirements for admission of expert testimony as set forth in Federal Rule of Evidence
702, Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and other
applicable case law.
       2. The issues in this case, and the issues about which Dr. Baron would be
expected to testify relate generally to whether or not certain controlled substance
prescriptions for Matthew Roberts and others were outside the usual course of
professional medical practice and not for a legitimate medical purpose. Dr. Baron’s
report, copy of which is attached hereto as Exhibit A and his Curriculum Vitae, attached
hereto as Exhibit B, demonstrate that Dr. Baron is not qualified to render the opinions he
intends to testify about at trial. Even if Dr. Baron were qualified to render those
opinions, the opinions do not satisfy the other requirements for admissibility of expert
testimony.
       3. Dr. Baron is a psychiatrist. Dr. Baron appears to have held a board
certification in anesthesiology in 1993 but no longer holds such a board certification. He
holds a board certification in psychiatry and neurology and has also held board
certifications in addiction medicine. Conversely, Dr. Snellgrove is an internist practicing
primary care medicine in Fairhope, Alabama. By training, education and experience Dr.
Baron is not adequately qualified to assess a primary care physician’s prescribing
practices or his care of a specific patient. Dr. Baron’s report fails to describe the
methodology he utilized in reaching his opinions, and is quite generalized as to what
specific information, data, and documentation upon which he relied to reach his
conclusions. The opinions and conclusions reached by Dr. Baron fail to meet the
requirements of Federal Rule of Evidence 702 in that the opinions are based upon
insufficient facts and/or data, the opinions are not the product of demonstrated reliable
principles and methods, and Dr. Baron’s report fails to demonstrate that he has applied
any principles or methods reliably to the facts of this case.
        4. Dr. Baron’s report contains broad generalizations which purport to establish a
standard of care for the care and treatment of Matthew Roberts. For example, Dr. Baron
states, without any supporting professional medical data, that controlled substances are
“not appropriate” for chronic pain. Other examples include the statement that Dr.
Snellgrove was “prescribing lethal doses of opioids to Roberts”, that Dr. Snellgrove’s
prescribing of Duragesic Fentanyl transdermal patches “was outside the usual course of
medical practice”, and that Dr. Snellgrove’s prescribing of controlled substances was for
“trivial complaints that did not require that type or quantity of opiods”. There are
numerous other generalizations without any supporting factual medical basis to support
the reliability of those generalizations.
        WHEREFORE, premises considered, the Defendant respectfully moves this
Honorable Court to exclude the testimony of Dr. Baron because he is not qualified to
render the opinions he intends to testify about. In the alternative, if the Court determines
that he is qualified to render those opinions then those opinions should be excluded for
the foregoing reasons. Dr. Snellgrove also requests such other relief to which he may
show itself entitled.


                                                       Respectfully submitted,
                                                       /s/ Dennis J. Knizley
                                                       Dennis J. Knizley
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                                                     /s/. Arthur T. Powell, III
                                                     Attorney for the Defendant
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                                                     158 Congress Street
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                            CERTIFICATE OF SERVICE

        I hereby certify that I have on this 6th day of February 2018, served a true and
correct copy of the foregoing pleading by electronically filing same with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to Assistant
U.S. Attorney Deborah A. Griffin.




                                                     /s/ Dennis J. Knizley

                                                     /s/ Arthur T. Powell, III
